                            IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                    STATESVILLE DIVISION
                         CRIMINAL CASE NO.: 5:97CR109-V; 5:04CV77-V

UNITED STATES OF AMERICA            )
                                    )
            v.                      )                                  ORDER
                                    )
ROGER BYRD,                         )
            Defendant.              )
____________________________________)

           THIS MATTER is before the Court on Defendant’s “Pro Se Nunc Pro Tunc Rule 60(b)(4)
Motion ...,” filed September 28, 2007. (Document #285)
           In his motion, Defendant contends that his federal drug conspiracy conviction of January
1998 is void in light of an alleged violation of The Speedy Trial Act, 18 U.S.C. § 3161(c)(1).
Defendant further contends that his Indictment was returned after expiration of the five-year statute
of limitations under 18 U.S.C. § 3282.1
           Defendant relies upon Rule 60(b)(4) of the Federal Rules of Civil Procedure as the mechanism
for reopening and setting aside final judgment.               Defendant cites Gonzalez v. Crosby, for the
proposition that Rule 60(b)(4) provides him the ability to reopen his federal criminal case following
final judgment. See Gonzalez v. Crosby, 125 S.Ct. 2641 (2005). However the Supreme Court held
in Gonzalez that Rule 60(b) was applicable in civil habeas proceedings under 28 U.S.C. § 2254
challenging an underlying state criminal conviction, and only to the extent that such application is




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               Title 18 U.S.C. § 3282 provides a limitations period for federal non-capital offenses and reads as
follows:

           “Except as otherwise expressly provided by law, no person shall be prosecuted, tried, or
           punished for any offense, not capital, unless the indictment is found or the information is
           instituted within five years next after such offense shall have been committed.”

18 U.S.C. § 3282.

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       Case 5:97-cr-00109-KDB                 Document 300         Filed 05/26/09       Page 1 of 3
consistent with other federal statutes and rules.2 Gonzalez, 125 S.Ct. at 2646. Most importantly,
the Supreme Court contrasted a Section 2255 challenge to a federal conviction with a Section 2254
action. In Gonzalez, the Supreme Court expressly limited its holding to application in the latter,
federal habeas actions pursuant to 28 U.S.C. §2254. Gonzalez, 125 S.Ct. at 2646 n. 3. This
Defendant is a federal prisoner attempting to challenge a federal criminal conviction. As such, his
avenue for collateral post-conviction relief is under §2255 – not §2254.
        Defendant’s criminal conviction and sentence has already been reviewed (twice) on direct
appeal and was ultimately affirmed by the Fourth Circuit Court of Appeals. (Document #273)
Defendant was resentenced in 2002 in light of changes and development in federal sentencing
jurisprudence. Following his resentencing, Defendant petitioned the Supreme Court for a writ of
certiorari and the petition was denied. (Document #280)
        Defendant’s latest filing raises issues that are more properly addressed within a Motion to
Vacate, Set Aside, or Correct Sentence pursuant to 28 U.S.C. § 2255. The undersigned similarly
held in 2004 that a civil action purportedly brought by Defendant under 28 U.S.C. §1651, 28 U.S.C.
§2241, and Rule 60(b)(4) of the Federal Rules of Civil Procedure was likewise more appropriately
characterized as a collateral attack on his conviction and sentence. (See Byrd v. United States,
5:04CV77-V / Document #5) Indeed, in 2004, Defendant Byrd attempted to raise multiple
jurisdictional challenges as well as the identical statute of limitations issue posed herein. (Id. / M &
O at 3 / Petition at 31-35.) This Court’s subsequent dismissal of Defendant’s collateral attack was
affirmed by the Fourth Circuit. (5:04CV77-V / Document #8-10)
        For all of these reasons, the legal arguments advanced by Defendant Byrd are not properly
before this Court. His motion, therefore, is hereby dismissed.




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           Gonzalez addressed the related issue of when a Rule 60(b) motion might be characterized as a
“second or successive habeas petition” under §2254 for purposes of the Antiterrorism and Effective Death
Penalty Act (“AEDPA”). Gonzalez, 125 S.Ct. at 2646-2651 (Rule 60(b) motion challenging a previous
AEDPA statute of limitations ruling is a “nonmerits” challenge, does not amount to a new “merits” claim,
and does not constitute a successive habeas petition for purposes of §2254). While Defendant makes a
statute of limitations argument, he does not argue that the Court’s prior ruling on his 28 U.S.C. §2255
petition ran afoul of AEDPA. In addition, Defendant raises a Speedy Trial issue for the first time.

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       Case 5:97-cr-00109-KDB            Document 300          Filed 05/26/09       Page 2 of 3
                               Signed: May 26, 2009




                               3


Case 5:97-cr-00109-KDB   Document 300   Filed 05/26/09   Page 3 of 3
